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                   IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA

                                         )
STANDING ROCK SIOUX TRIBE,               )
                                         )
      Plaintiff,                         )
                                         )
and                                      )
                                         )
CHEYENNE RIVER SIOUX TRIBE,              )
                                         )
      Plaintiff-Intervenor,              )
                                         )
v.                                       )     Case No. 1:16-cv-01534 (JEB)
                                         )      (consolidated with Cases No.
UNITED STATES ARMY CORPS OF              )    1:16-cv-01796 & 1:17-cv-00267)
ENGINEERS,                               )
                                         )
      Defendant,                         )
                                         )
and                                      )
                                         )
DAKOTA ACCESS, LLC,                      )
                                         )
      Defendant-Intervenor.              )
                                         )




               UNITED STATES ARMY CORPS’ BRIEF IN OPPOSITION
                   TO PLAINTIFFS’ REQUEST FOR INJUNCTION
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I.      INTRODUCTION
        In order to obtain injunctive relief, Plaintiffs must show that they are “certain”—or at the

very least “likely”—to suffer an irreparable injury that cannot be remedied and that the balance

of hardships tips in their favor. Plaintiffs have not met this high bar.

        First, Plaintiffs’ argument that the Court need not even evaluate the injunction factors

conflicts with the law of the case, as set out in the D.C. Circuit order that led to the instant

motion, as well as Supreme Court precedent. Moreover, Plaintiffs overlook that the easement at

issue did not authorize the Pipeline but merely granted it permission to cross federal property.

        Next, Plaintiffs have not demonstrated that they are entitled to injunctive relief. The

Corps has shown, and this Court has agreed, that the asserted harm—an oil spill at Lake Oahe—

is far from likely. Rather, the “possibility of a future spill . . . is low.” ECF No. 496 at 29.

Plaintiffs’ retained experts have surely not proven that an oil spill is likely—let alone certain.

Plaintiffs therefore retreat to reliance on their apprehension over a highly unlikely spill. But

courts have rejected exactly this asserted harm as too abstract to support a finding of irreparable

harm. Nor is alleged harm concerning tribal governance supportable, as the Pipeline has no

impact on the Tribes’ governance and any lack of participation in response planning is

attributable to the Tribes themselves.

        Ultimately, this Court must weigh the potential harms advanced by the Plaintiffs—the

“low” risk of an oil spill (particularly a high consequence spill) and tribal members’ subjective

apprehension regarding such a spill—against the near certain economic disruption and elevated

risk of environmental harm from rail transport that would result from enjoining the Pipeline. The

scales are not close to evenly balanced. The Tribes’ harms are speculative and abstract, whereas




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shutting down a Pipeline that has been operating safely for years is certain to cause economic

harm and shift oil transport to more risky methods. Plaintiffs are not entitled to injunctive relief.

II.     IT IS LAW OF THE CASE THAT PLAINTIFFS MUST PREVAIL ON
        THE INJUNCTION FACTORS TO OBTAIN INJUNCTIVE RELIEF
        Plaintiffs first argue that they need not demonstrate that they meet the four-factor test

required for injunctive relief, asking the Court to “clarify that its shutdown order is not an

injunction but a component of its vacatur order.” ECF No. 569 at 4. This argument is

inconsistent with Supreme Court precedent; moreover, the D.C. Circuit has already rejected it

and its ruling is “law of the case.” This is not a case where setting aside the easement necessarily

renders the Pipeline’s operation illegal; all the cases Plaintiffs cite are thus irrelevant.

        On August 5, 2020, the D.C. Circuit stayed this Court’s injunction requiring Dakota

Access to shut the pipeline down and empty it of oil and held that “[t]he district court did not

make the findings necessary for injunctive relief.” Standing Rock Sioux Tribe v. U.S. Army

Corps of Eng’rs, No. 20-5197, 2020 WL 4548123, at *1 (D.C. Cir. Aug. 5, 2020). 1 The D.C.

Circuit then directed this Court to “consider additional relief if necessary.” Id. The D.C. Circuit

implicitly rejected the Plaintiffs’ argument that “vacatur” somehow includes an injunction

against the operation of the Pipeline, and its ruling is now binding law of the case, “preclusive of

all matters decided expressly or by necessary implication.” See, e.g., Taylor v. FDIC, 132 F.3d

753, 761 (D.C. Cir. 1997). The law here is straightforward: the Plaintiffs have asked this Court

for an injunction and “a plaintiff seeking a permanent injunction must satisfy a four-factor test

before a court may grant such relief.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156



1Unlike the D.C. Circuit’s ruling on the appellants’ motions to stay, this aspect of its order was
not preliminary and not based on that Court’s initial assessment of the parties’ likelihood of
success on the merits.

                                                    2
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(2010). In other words, where a plaintiff’s “request seeks more than mere vacatur, the Court

must look to the standards for a permanent injunction.” Ctr. for Biological Diversity v. Ross, No.

CV 18-112 (JEB), 2020 WL 4816458, at *9 (D.D.C. Aug. 19, 2020) (Boasberg, J.).

        Plaintiffs cite cases where vacatur of an agency’s action automatically renders the non-

federal action unlawful, ECF No. 569 at 4-5, but those cases concern “non-federal action [that]

cannot lawfully begin or continue without the prior approval of a federal agency.” Found. on

Econ. Trends v. Heckler, 756 F.2d 143, 155 (D.C. Cir. 1985). While Plaintiffs seem to believe

this is such a case, the cases they rely on demonstrate that it is not. For instance, Plaintiffs cite a

case concerning the Migratory Bird Treaty Act (MBTA), which makes it unlawful to kill

migratory birds “[u]nless and except as permitted by regulations” issued under the Act. 16

U.S.C.A. § 703; Pub. Employees for Envtl. Responsibility v. U.S. Fish & Wildlife Serv. (PEER),

189 F. Supp. 3d 1, 2 (D.D.C. 2016). The Order at issue in PEER authorized killing of migratory

birds; when it was set aside, this activity necessarily became illegal. PEER, 189 F. Supp. 3d at 2.

        Similarly, Plaintiffs cite cases involving natural gas pipelines, which are illegal to

construct or operate without authorization by FERC. See 15 U.S.C. § 717f. As a result, if

FERC’s authorization is set aside, then it is illegal for a natural gas pipeline to be constructed or

operate. It is thus unsurprising that Plaintiffs can find cases where setting aside a FERC

authorization halts a pipeline without a separate injunction. See ECF No. 569 at 4 (citing, e.g.,

Sierra Club v. FERC, 867 F.3d 1357, 1379 (D.C. Cir. 2017)). 2



2Operating a nuclear facility is also prohibited unless authorized by license, 42 U.S.C. § 2092,
so Plaintiffs’ citation to cases involving nuclear facilities suffer from the same flaw. E.g., Oglala
Sioux Tribe v. U.S. Nuclear Regulatory Comm’n, 896 F.3d 520, 523 (D.C. Cir. 2018). So, too,
with Monsanto, 994 F. Supp. 2d 98, which concerned regulations that prohibited certain
genetically modified plants from being transported or “released into the environment” absent a
permit or determination that the plant does not present a pest risk. See 7 C.F.R. § 340.3-340.6.

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       Unlike the cases Plaintiffs cite, including those under the Natural Gas Act, this case does

not concern a pipeline that requires a federal permit to operate, and the Corps does not

“regulate or oversee the construction of pipelines.” Standing Rock Sioux Tribe v. U.S. Army

Corps of Eng’rs, 205 F. Supp. 3d 4, 22 (D.D.C. 2016) (citation omitted). Indeed, there is no

federal permit required to operate a crude oil pipeline. See generally Brandon J. Murrill,

Pipeline Transp. of Natural Gas and Crude Oil: Fed. and State Regulatory Auth., Cong. Research

Serv. pg. 7 (2016) (explaining that, in contrast to “natural gas pipelines under the NGA, no

federal law establishes a specific approval process for the siting of pipelines that would transport

crude oil. . . .”). Plaintiffs are simply incorrect that “[w]ithout an easement that meets the

standards of NEPA, a pipeline cannot lawfully operate.” ECF 569 at 5. NEPA is purely

procedural and does not authorize the Pipeline’s operation. See Dep’t of Transportation v.

Public Citizen, 541 U.S. 752, 756 (2004). Nor does the Mineral Leasing Act easement, which by

its text does not authorize operation of the Pipeline, but rather authorizes the use of federal

property. See USACE_ESMT000005.

       Therefore, setting aside the easement does not have the necessary effect of rendering the

Pipeline’s operation illegal. Instead, setting aside the easement has the effect of rendering the

Pipeline an “encroachment” on federal property—that is, a use of federal property without the

necessary permission from the federal government. But not every encroachment on Corps

property results in an immediate trespass action by the Corps—indeed, the Corps encroachment

regulations would be largely superfluous if this were the case. See ECF No. 562. Ultimately,

Plaintiffs’ position fails because they have “not shown that all of the non-federal action it seeks

to enjoin [the operation of the Pipeline] ‘cannot lawfully begin or continue without the prior

approval of a federal agency.’” Sierra Club v. U.S. Dep’t of Agric., Rural Utilities Serv., 841 F.


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Supp. 2d 349, 361 (D.D.C. 2012) (quoting Foundation on Economic Trends, 756 F.2d at 155).

III.   PLAINTIFFS HAVE NOT DEMONSTRATED THE FOUR ELEMENTS
       REQUIRED TO OBTAIN INJUNCTIVE RELIEF
        “[A] plaintiff seeking a permanent injunction must satisfy a four-factor test before a

court may grant such relief. A plaintiff must demonstrate: (1) that it [will] suffer[] 3 an

irreparable injury; (2) that remedies available at law, such as monetary damages, are inadequate

to compensate for that injury; (3) that, considering the balance of hardships between the plaintiff

and defendant, a remedy in equity is warranted; and (4) that the public interest would not be

disserved by a permanent injunction.” Monsanto, 561 U.S. at 156–57. Plaintiffs bear the burden

of demonstrating irreparable harm, and this presents a “very high bar.” Beck v. Test Masters

Educ. Servs. Inc., 994 F. Supp. 2d 98, 101 (D.D.C. 2014)).

       Plaintiffs have not cleared the high bar; they have not demonstrated certain, or even

likely, irreparable harm, and the equities tip in favor of maintaining the status quo.

               A.      Plaintiffs have not demonstrated certain, or even likely,
                       irreparable harm
       The Supreme Court has stated that plaintiffs cannot obtain injunctive relief if they

“cannot show that they will suffer irreparable injury. . . .” Monsanto, 561 U.S. at 162 (emphasis

added). This Circuit has required that the claimed injury “must be both certain and great; it must

be actual and not theoretical.” Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)

(emphasis added); Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

2006). However, the Supreme Court has also declined to grant an injunction absent “imminent

risk of likely irreparable harm.” Monsanto, 561 U.S. at 162 (emphasis added); see also Ctr. for




3 While the first element is often stated in the past tense, it may be satisfied if a movant can show
“they will suffer irreparable injury.” Monsanto, 561 U.S. at 162.

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Biological Diversity, 2020 WL 4816458, at *10 (“To give Plaintiffs the benefit of the doubt here,

the Court will use a less demanding standard requiring only a likelihood, not a certainty, of

future irreparable harm.”); In the Matter of Fed. Bureau of Prisons’ Execution Protocol Cases,

No. 19-MC-145 (TSC), 2020 WL 5594118, at *17 (D.D.C. Sept. 20, 2020) (denying relief where

“Plaintiffs have not established that [injury] is ‘certain’ or even ‘likely’ to occur.”). Plaintiffs

fall short under either formulation of the test because the harm they fear is unlikely to occur.

        Plaintiffs do not argue that a high magnitude oil spill, and associated impacts to Tribal

lands, rights, or resources is “certain” or even “likely.” Instead, Plaintiffs cite non-binding cases

for the proposition that “[e]vents with a lower probability of occurring, but catastrophic

consequences if they do, occupy a special place in the law.” ECF No. 569 at 11. This is not the

law in this Circuit. Rather, irreparable harm must be, at the very least, “likely” even if the harm

is potentially high magnitude. See Standing Rock, 205 F. Supp. at 34 (The Court must “faithfully

and fairly apply” the standard for injunctive relief “in all cases, regardless of how high the

stakes. . . .”). This Court has held as much with regard to the very harm at issue here—an oil

spill. In Sierra Club v. U.S. Army Corps of Eng’rs, 990 F. Supp. 2d 9, 41 (D.D.C. 2013), the

Court considered Plaintiffs’ argument that operating an oil pipeline “risks a devastating oil spill

that would be damaging to nearby communities, and that that harm is sufficient to warrant an

injunction.” Id. The Court rejected this argument, finding “Plaintiffs have not shown that a

damaging oil spill is likely to occur, and it is bedrock law that injunctions ‘will not issue to

prevent injuries neither extant nor presently threatened, but only merely feared.’” Id. (quoting

Comm. in Solidarity With People of El Salvador (CISPES) v. Sessions, 929 F.2d 742, 745–46

(D.C. Cir. 1991)). The Court reiterated that “the harms that an oil spill might potentially

someday cause—however fearsome—are not certain, and therefore are not sufficient to satisfy


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the ‘irreparable harm’ standard.” Id. (emphasis added).

       The cases Plaintiffs cite are not to the contrary. Ctr. for Biological Diversity does not

support Plaintiffs’ position that “catastrophic” harms need not be “likely” or “certain” to warrant

injunctive relief. 2020 WL 4816458, at *10. In Biological Diversity, the Court parsed the

evidence to determine, using “probabilistic reasoning,” whether the allegedly irreparable harm

was “likely to occur in the next nine months.” Id. Similarly, Banks v. Booth, 459 F. Supp. 3d

143, 159 (D.D.C. 2020), concerned prison inmates’ high likelihood of experiencing serious

health impacts or even death from COVID-19 infection. Though the Court did not expressly

conduct a probabilistic analysis, it recognized COVID-19 “is widespread among the inmate

population” and that “the number of inmates testing positive…is growing daily.” Id. The

Court’s findings thus implied that COVID-19 was likely to harm inmates. Finally, contrary to

Plaintiffs’ characterization, ECF No. 569 at 11, the court in Michigan v. U.S. Army Corps of

Engineers did not grant but rejected a proposed injunction requiring the Corps to make changes

to Corps-managed waterways to protect against invasive Asian Carp. 667 F.3d 765, 795, 800

(7th Cir. 2011). The Seventh Circuit’s subsequent decision upholding dismissal of the case is

instructive as well, as the decision focused on the plaintiffs’ failure to allege “facts showing that

the Corps and the District are operating the [waterway] in a manner that is likely to allow the

Asian carp to reach Lake Michigan.” Michigan v. U.S. Army Corps of Eng’rs, 758 F.3d 892, 896

(7th Cir. 2014) (emphasis added). In sum, to obtain injunctive relief Plaintiffs must demonstrate

they “will suffer” irreparable harm, and as explained below they have not done so.

                       1.      An oil spill at Lake Oahe is neither “likely” nor “certain”

       Plaintiffs have not demonstrated that an oil spill at Lake Oahe or any harms resulting

therefrom is “likely,” much less “certain.” This Court has repeatedly agreed with the Corps’


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conclusion that the “possibility of a future spill . . . is low.” Standing Rock Sioux Tribe v. U.S.

Army Corps of Eng’rs, 440 F. Supp. 3d 1, 29 (D.D.C. 2020). Nothing in the Plaintiffs’ experts’

declarations change this conclusion; indeed, not one of Plaintiffs’ retained experts claim an oil

spill is “likely,” much less “certain.” Plaintiffs’ retained experts’ critiques are not sufficient to

demonstrate that Plaintiffs have met the high bar for injunctive relief.

        Plaintiffs rely on the Holmstrom and Flanders declarations to critique DAPL’s safety

record and alleged “lack of surge relief systems.” ECF No. 569 at 11. Neither argument is

persuasive. First, Plaintiffs’ retained experts point to the absolute number of spills of the Pipeline

operator. But this number, standing alone, is meaningless for at least two reasons. One, the

number does not account for the severity of the spills. Two, the number fails to show that this

operator’s safety record is outside the industry standard of care. Moreover, as the Corps has

previously demonstrated, in making this argument Mr. Holmstrom misconstrues PHMSA data by

blending together two different time periods in a misleading way. ECF No. 536 at 11.

        Second, the surge analysis report Plaintiffs rely on did not find that the Pipeline lacked

surge relief systems—to the contrary, it actually concluded that the Pipeline is “protected against

excessive surge pressures” as long as its safety systems are in place. RAR 17288. The segment

of the Pipeline under Lake Oahe—the only segment at issue here—is designed to withstand

nearly double the maximum allowable operating pressure. DAPL 71314. PHMSA’s historical

data shows that, for all the pipelines of 16'' diameter or greater in the United States, only one

pipeline spill was caused by incorrect operations between 2002 and 2012. RAR 150-160. After

over three years of operations, there have been no spills at the Lake Oahe crossing or anywhere

on the Pipeline’s mainline. As discussed below Plaintiffs experts argued spills were most likely

during commissioning (which occurred years ago) and decommissioning. Plaintiffs’ retained


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experts are also critical of the Pipeline’s valves, but they were tested before the Pipeline began

operations. See id. They are motor-operated, but if there is a power failure, they can also be

closed manually. RAR 157. The valves have been specifically designed to meet industry

standards and to withstand North Dakota’s harsh winters. RAR 156-57.

       Plaintiffs’ own effort to identify large spills makes clear that they are unlikely. And they

are even more unlikely under Lake Oahe because there is no way that the section of Pipeline can

be damaged by construction activities, the cause of most pipeline spills. Id. As this Court has

found and as Plaintiffs retained experts have not disproven, the risk of a spill is “low.”

                       2.      Subjective apprehension about a potential spill does not
                               support a finding of irreparable harm

       Having essentially conceded that the primary harm they are concerned about, an oil spill,

is neither “certain” nor “likely,” Plaintiffs seek to rely on subjective concern about a spill as a

basis for finding irreparable harm. ECF No. 569 at 14. While such subjective harms have

occasionally been a basis for a finding of irreparable harm, there is no basis for so finding here.

If subjective concern over a harm that is not “likely” or “certain” to occur were sufficient to clear

the “high bar” for injunctive relief, then the bar would not be high at all.

       Plaintiffs have alleged mental distress resulting from the concern of a potential spill at

Lake Oahe. Id. But where the risk of the ultimate harm that forms the basis of the mental

distress is low, courts have declined to find irreparable harm sufficient to justify injunctive relief.

For instance, in Sierra Club, this Court stated that it “acknowledges and accepts that some of the

people who live in areas near the pipeline project are sincerely worried about the harm that an oil

spill might cause,” but nonetheless found that this was insufficient to warrant an injunction

because a spill was unlikely. 990 F. Supp. 2d at 41. Similarly, in cases concerning mental harm

from observing animals’ death or injury, courts have drawn a distinction between cases where

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this death or injury is certain to occur—and thus distress will certainly follow—from cases where

plaintiffs are merely concerned about such harm occurring. For instance, Plaintiffs cite Fund for

Animals v. Norton, 281 F. Supp. 2d 209, 222 (D.D.C. 2003), in which the court found the killing

of hundreds of mute swans, “some of which may be those with which [plaintiffs] have developed

relationships” to be irreparable harm. Id.; ECF No. 569. In contrast, in Colorado Wild Horse v.

Jewell, 130 F. Supp. 3d 205, 220 (D.D.C. 2015), the Court drew a distinction between cases such

as Norton where the government “kill[s] large numbers of animals” from the circumstance

presented in that case where the government did not plan to kill the horses in question “[a]nd to

the extent that BLM’s actions do endanger wild horses, the risk of death or serious injury to the

gathered horses appears to be quite low.” In Colorado Wild Horse, the Court accepted “the

sincerity or depth” of the emotional concern plaintiffs alleged, but ultimately found that in light

of the “low” risk of the harm plaintiffs were concerned about that “Plaintiffs’ reliance on

emotional distress as a form of irreparable injury . . . is misplaced.” Id.

       Similarly, here, though Plaintiffs express concerns about the “threat of seepage, leak, and

rupture” at Lake Oahe, ECF No. 569 at 15, given the evidence that the risk of such a spill is low,

Plaintiffs subjective apprehensions do not constitute irreparable harm sufficient to sustain

extraordinary injunctive relief. See Caribbean Marine Servs. Co. v. Baldrige, 844 F.2d 668,

675–76 (9th Cir. 1988) (“Subjective apprehensions and unsupported predictions . . . are not

sufficient” to show irreparable harm.); Koller v. Brown, 224 F. Supp. 3d 871, 879 (N.D. Cal.

2016); Thomas v. Hoehne, 2005 WL 2487947, at *2 (W.D. Mich. 2005) (“Speculative injury is

not sufficient” nor is “fear on the part of the applicant.”); Air Transp. Ass’n of Am., Inc. v. Exp.-

Imp. Bank of the U.S., 840 F. Supp. 2d 327, 334 (D.D.C. 2012) (quoting Wisconsin Gas, 758

F.2d at 674)) (Courts “need not grant injunctive relief ‘against something merely feared as liable


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to occur at some indefinite time.’”).

                       3.      Tribal governance is not irreparably harmed by the Pipeline

       Plaintiffs similarly have identified no harm, much less an irreparable harm, to their Tribal

Self-Governance. ECF No. 569 at 16-18. The cases Plaintiffs rely upon highlight that the Corps

has not harmed Tribal sovereignty. And the facts belie Plaintiffs’ claim that the Corps has

undermined tribal efforts to plan for the unlikely event of a spill.

       In contrast to the cases Plaintiffs cite where States undermined tribal sovereignty by

asserting criminal jurisdiction on tribal lands, ECF No. 569 at 16-17, this case involves no

intrusion onto tribal lands, much less the total loss of tribal authority over tribal land. In

Wyandotte Nation v. Sebelius, the Tenth Circuit found irreparable harm where a State raid seized

money and property from tribal trust land. 443 F.3d 1247, 1255 (10th Cir. 2006). In Ute Indian

Tribe v. Utah, the Tenth Circuit held that prosecution of a Tribal member for a crime on tribal

land injured tribal sovereignty. 790 F.3d 1000 (10th Cir. 2015). And in Mashpee Wampanoag

Tribe v. Bernhardt, taking land out of trust status would have irreparably harmed the tribe by

causing “[t]he total loss of sovereign authority, self-government, and jurisdiction” on land. No.

18-2242 (PLF), 2020 U.S. Dist. LEXIS 99024, at *10 (D.D.C. June 5, 2020) (also noting impacts

to funding and taxes). But no such harm to sovereignty exists where a state “is not enforcing its

laws on tribal lands,” and “off-reservation regulation of non-tribal entities does not implicate

[tribal] authority.” Pueblo of Pojoaque v. New Mexico, 233 F. Supp. 3d 1021, 1147 (D.N.M.

2017) (citing Wyandotte, 443 F.3d at 1251-52, 1255). Plaintiffs’ cases therefore highlight that

the Corps’ off-reservation management of its own property does not injure tribal sovereignty.

       Similarly, Plaintiffs’ assertion that their government functions have been impaired, ECF

No. 569 at 17, only illustrates that they have suffered no injury from a Pipeline that has not had a


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leak into Lake Oahe in over three years of operation. The cases cited by Plaintiffs, see id., make

clear that Plaintiffs: (1) must prove they have suffered actual harm, such as a 70% to 85% actual

reduction in voter registration numbers; and (2) “cannot engage in activities simply to create an

injury.” League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 8 (D.C. Cir. 2016); Nat’l

Treasury Emps. Union v. U.S., 101 F.3d 1423, 1430 (D.C. Cir. 1996) (no injury where

organization did not allege that bill was actually vetoed or modified by threat of line item veto,

despite organization expending funds on lobbying based on speculation about harms). Plaintiffs

here have suffered no actual harm, and any impairment of emergency preparedness is not

attributable to the Corps.

        Plaintiffs’ refusal to participate in emergency response planning meetings is fatal to their

assertions, ECF No. 569 at 9, 17-18, that consultation was inadequate and that harms to tribal

self-government supports an injunction. Any impairment to potential tribal efforts to respond to

a hypothetical oil spill have been occasioned, if at all, by Plaintiffs’ refusal to participate in

planning meetings. See Pennsylvania v. New Jersey, 426 U.S. 660, 664, (1976) (per curiam)

(holding that litigant cannot “be heard to complain about damage inflicted by its own

hand”); Lee v. Christian Coal. of Am., Inc., 160 F. Supp. 2d 14, 33 (D.D.C. 2001) (holding that a

“preliminary injunction movant does not satisfy the irreparable harm criterion when the alleged

harm is self-inflicted”) (citations omitted).

        First, Plaintiffs’ suggestion, ECF No. 569 at 8-9, that an Interior Department Solicitor

Opinion identified a consultation deficiency was incorrect even before remand. Standing Rock

Sioux Tribe v. U.S. Army Corps of Eng’rs, 255 F. Supp. 3d 101, 156 (D.D.C. 2017) (“Corps did

endeavor to consult early with the Tribe and gave it the opportunity to offer meaningful

comments”); Standing Rock Sioux, 205 F. Supp. 3d at 32 (“Tribe largely refused to engage in


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consultations.”); Standing Rock Sioux, 440 F. Supp. 3d at 11 (“In June 2017, the Court largely

upheld the Corps’ decision, including on the ground that it had fulfilled any consultation

duties.”). 4 And the record is clear that the Corps fully complied with any consultation

requirement on remand. ECF No. 446 at 2–10, 15–24 (Oct. 9, 2019); ECF No. 448 at 2–9, 10–

27 (Oct. 9, 2019); ECF No. 450 at 2–4, 12–16 (Oct. 9, 2019); ECF No. 458 at 8-11, 38-42 (Oct.

17, 2019). Standing Rock, for example, declined to participate in numerous meetings, including

ones where Dakota Access was “prepared to show and explain . . . the results of the recent spill

modeling and discuss how those results are informing the response planning.” Email from C.

Borkland, ETP (Mar. 1, 2018), RAR6565 (also discussing provision of Bakken crude data).

Rather than engage in emergency response planning, Standing Rock canceled a planning meeting

and refused to allow the inspection of potential clean-up sites on its Reservation. Letter from

Chairman Faith to ETP (Feb. 28, 2018), RAR6588-89; Res. No. 80-18 (Mar. 6, 2018),

RAR6429. Contrary to the Tribe’s suggestion, ECF No. 569 at 18, Standing Rock’s refusal to

productively engage hinders what should be joint efforts to protect the Tribe’s sacred sites.

       In sum, while Standing Rock may be correct that its own “emergency management

department never had any substantial involvement in spill planning,” ECF No. 569 at 18, that is

not an injury attributable to the Corps. Standing Rock could have attempted to remedy any

injury to its emergency preparedness by participating in planning meetings. The Tribe’s refusal

to consult on emergency preparedness cannot be held against the Corps and any injury caused by

Standing Rock’s failure to participate does not support an injunction.




4Plaintiffs’ reliance on a 2016 Solicitor’s Opinion is also misplaced because “as set out in the
EA and Cooper Memo, the risk of a spill was low and was further mitigated by the easement
conditions.” Standing Rock Sioux, 255 F. Supp. 3d at 143.

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               B.      Plaintiffs have not established impacts of an unlikely spill
                       could not be at least partially remediated
       Plaintiffs argue that a spill at Lake Oahe could not be remedied by money damages as it

would “involve the loss of a Treaty-protected right—like the use of the waters of Lake Oahe for

ceremonial, subsistence, or economic purposes.” ECF No. 569 at 19. However, at least as to the

use of the lake for “economic purposes,” Plaintiffs have failed to establish that they could not

recover money damages against the Pipeline operator.

       Moreover, even in the unlikely event of a spill, impacts of that spill would be temporary

in time and limited in their geographic impact. See, e.g., RAR114. Additionally, at least some

of the impact would be lessened by the mitigation. See Macht v. Skinner, 715 F. Supp. 1131,

1137 (D.D.C.), aff’d, 889 F.2d 291 (D.C. Cir. 1989) (In considering injunctive relief, it is

“appropriate for the Court to consider the attempts at mitigation[.]”); Manzanita Band of

Kumeyaay Nation v. Wolf, No. 1:20-CV-02712 (TNM), 2020 WL 6118182, at *5 (D.D.C. Oct.

16, 2020) (irreparable harm theory is “undermined by Government measures in place to avoid

and mitigate any harm to their religion and culture”). Here, the Corps imposed thirty-six

conditions that are specifically tailored to further mitigate risk of rupture at the Lake Oahe

crossing. See Dep’t of the Army Easement for Fuel Carrying Pipeline Right-of-way Located on

Lake Oahe Project, USACE_ESMT000005; EA at 71314; ECF Nos. 520-1 and 520-2

(describing safety features and record in greater detail). 5 And the spill response plan is robust

and would immediately respond to an mitigate any spill. E.g., RAR 229. Spill risk has been

mitigated, and, if such a spill occurred, any subsistence or other economic loss could be




5Although this Court vacated the easement for the Pipeline to cross under Lake Oahe, the
operator agreed to abide by its terms nevertheless pending the Corps’ encroachment analysis.

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remedied through money damages.

                C.      The balance of equities weighs against an injunction
        A party seeking injunctive relief must demonstrate both “that the balance of equities tips

in [its] favor, and that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008). “These factors merge when the Government is the opposing

party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Plaintiffs have not established that the certain

harms of stopping the pipeline and switching to more risky and environmentally problematic

forms of oil transport are outweighed by the low probability of an oil spill or individuals’

subjective apprehensions about such a spill.

        Rather than establish that a tribal member’s subjective feeling that a “[S]word of

Damocles” hangs over her head is sufficient to justify injunctive relief, ECF No. 569 at 15, the

cases Plaintiffs cite establish that the Plaintiffs must prove that the harm they will suffer

outweighs the harm others will suffer. League of Women Voters, 838 F.3d at 12 (“Appellants

have also demonstrated that the balance of the equities tips in their favor because a preliminary

injunction will ‘not substantially injure other interested parties.’”). For instance, in Vencor

Nursing Ctrs, L.P. v. Shalala, 63 F. Supp. 2d 1, 13 (D.D.C. 1999), the court found that Plaintiffs

had demonstrated that moving individuals from their nursing home would create irreparable

harm. However, the Court looked at both sides of the scale. It found that the “trauma and the

harm” from moving, alone, “do not warrant issuance” of injunctive relief. Those harms must be

“balanced against the harm to residents that would result if they were allowed to remain” in a

deficient facility. Id. The court ultimately weighed the harms and denied the request for

injunctive relief. Id. at 13-14.

        Similarly, Plaintiffs misapply the Michigan court’s discussion of several States’


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likelihood of succeeding on the merits of public nuisance claims. ECF No. 569 at 11. The

Seventh Circuit in Michigan upheld the District Court’s denial of an injunction, in part, because

it weighed whether the proposed relief would “reduce by a significant amount the risk” at issue

and, “on the other side, that the requested measures would impose substantial costs on the

defendants and the public interests they represent, as well as added expenses for commerce,

recreation, and tourism.” Michigan, 667 F.3d at 789-90. In other words, Michigan stands for the

proposition that Plaintiffs must establish a likelihood that any increased risk they experience

outweighs the public interest and commercial harms that their proposed injunction would cause.

       As demonstrated below, the certain harms that would result from granting an

injunction—economic disruption and increased environmental risks—do not outweigh the

subjective and speculative harms on Plaintiffs’ side of the ledger.

                       1.      An injunction would cause economic disruption

       As the Corps explained in its EA, the Pipeline has “tremendous secondary and

sustainable economic benefits to the United States by supporting energy independence,

increasing employment opportunities, and adding to demand in many manufacturing sectors,

which would be a boost to the overall economy.” ECF No. 172-1 at 71305. The Corps found

these benefits accrue throughout the United States, as well as in the area surrounding the

Pipeline. See id. (“[I]n summary, the economic impact to the U.S. as well as the immediate

region where the pipeline is located is considerable.”).

        While the effects of any injunction would be felt by Dakota Access first, the damage

would not be limited to the operator. An injunction would be immediately harmful to North

Dakota’s oil and gas industry: without any practical way to ship the vast bulk of their oil, crude oil

prices in North Dakota will collapse. Ex. 1, Bennett Decl. ¶ 14. That will harm the State,


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which has drawn as much as 45% of its tax revenue from oil and gas taxes in recent years. Id. ¶

9. The damage will spread quickly to Midwest refineries that otherwise would have processed

this crude oil. Id. ¶ 14-16. The refineries’ costs will go up, and they will pass some of those

costs along to consumers through higher retail gasoline prices. Id. ¶ 6. Eventually, the effects

from the injunction will be felt even on the West Coast, where refiners will have to turn to other

sources of crude oil for blending. Id. ¶ 15.

       Last, an injunction would harm the public and economy by eroding regulatory

predictability and public confidence. The Pipeline operator in good faith sought a property

interest from the government, it followed the process, and provided all the information the

government needed. It did not start construction on federal property until it had obtained the

easement and then reasonably relied on that real estate interest to implement its commercial

interests. An injunction causing the Pipeline to be drained of oil years later would erode

confidence in the regulatory process.

       Yet any injunction will not eliminate all risk of an oil spill; to the contrary it will shift oil

to more risky modes of transportation. As discussed below, the Corps has shown (and this Court

has agreed) that the risk of a catastrophic oil spill at Lake Oahe is low. By enjoining the

operation of the Pipeline, the Court will avoid that small risk, but will force producers to ship

their oil by rail or truck instead, which entails significant risks and certain environmental costs.

                       2.      The Pipeline minimizes risks associated with oil transportation

       Plaintiffs’ proposed injunction would likely increase the total risk associated with

transporting oil from North Dakota. This Court previously found that it was unclear whether

shutting down the Pipeline would cause oil to be transported by rail. Standing Rock Sioux Tribe

v. U.S. Army Corps of Eng’rs, No. 16-1534 (JEB), 2020 U.S. Dist. LEXIS 117866, at *36-38


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(D.D.C. July 6, 2020) . Plaintiffs now acknowledge that at least some of the oil currently carried

by the Pipeline would be diverted to other modes of transportation. ECF No. 569 at 2 (asserting

that “oil producers in North Dakota will easily work around a DAPL closure”). This oil would

have to be transported by rail or truck. See DAPL 71230.

       A 2018 PHMSA report supports the Corps’ original conclusion that rail transport imposes

more public safety risks than pipeline transport. The Corps respectfully disagrees with the Court,

Standing Rock Sioux, 2020 U.S. Dist. LEXIS 117866, at *37, that PHMSA’s responsible

scientific caveats made its report nearly valueless in assessing the relative risks posed by pipeline

and rail transport. While the 2018 PHMSA report stated “that ‘[e]ach mode has its own unique

safety risks, and more factors or different methodologies need to be considered to

comprehensively answer the question of which mode is the safest,’” id. , the metrics studied by

PHMSA 6 strongly support the conclusion that pipelines are safer than railroads. PHMSA

definitively found, based on data from 2007 to 2016, that:

       If percent spilled is used as a proxy for safety, shipping crude oil by water would
       be safer than by pipeline, by pipeline would be safer than by truck, and by truck
       would be safer than by rail. If incident rate is used as a proxy for safety, shipping
       crude by pipeline would be considered safer than by truck, and by truck would be
       considered safer than by rail.”

ECF No. 507-2 at 9.

       The 2018 PHMSA study indicated that rail might be safer than pipelines based on only

one metric, the “human consequences” of death and serious injury within the United States. Id. at

8-9 (comparing 14 serious injuries and 3 fatalities from pipelines over 10 years to 0 injuries and




6 PHMSA recommended, ECF No. 507-2 at 9, that future studies include more economic and
environmental consequence factors. Plaintiffs cannot dispute that the economic factors, standing
alone, militate against an injunction. ECF No. 527 at 18-19 (acknowledging financial impact).
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fatalities from rail). But PHMSA heavily caveated that conclusion by “caution[ing] that, despite

these low domestic numbers, [rail] incidents . . . can be extremely dangerous as evidenced by the

47 deaths resulting from a crude oil derailment in Lac Megantic, Quebec.” Id. at 8. If the

fatalities from the Lac Megantic disaster were included, the “human consequences” metric would

also tip in favor of pipelines. Moreover, because crude oil transport fatalities and serious injuries

are “extremely rare” for all modes of transportation, id. , the Court should focus on the fact that

enjoining the pipeline would statistically increase the percentage of oil spilled because of rail’s

higher incidence of spills relative to pipelines. ECF No. 507-2 at 9. See also Charles F. Mason,

Analyzing the Risk of Transporting Crude Oil by Rail, (Nat’l Bureau of Econ. Research,

Working Paper No. 24299, Feb. 2018) (finding a positive relation between increased rail

shipments of crude oil and spills). 7

         Science does not require complete certitude to make information actionable, and PHMSA

forthrightly noting that it cannot guarantee absolute certainty does not undermine its conclusion

that pipelines are safer in terms of percent spilled and incident rate. See Am. Trucking Ass’ns v.

EPA, 283 F.3d 355, 370 (D.C. Cir. 2002); Nat. Res. Def. Council, Inc. v. U.S. Envtl. Prot.

Agency, 804 F.2d 710, 716 (D.C. Cir. 1986) (“[W]e find it unthinkable that science may ever

yield absolute certainty of safety in an area so complicated and replete with problems of

measurement, modeling, . . . and the like.”). While PHMSA’s 2018 report did not establish

scientific certitude, its data support the conclusion that transporting oil by pipeline is safer than

rail. PHMSA’s conclusions show that the equities weigh against an injunction.

         Plaintiffs previously argued that generic comparisons of the relative safety of rail and




7   Available at https://www.nber.org/papers/w24299.

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pipeline transport do not contain information about the Oahe Crossing specifically. ECF No. 527

at 25. This is true, but it cuts against Plaintiffs. There is substantial evidence in the record that

the Pipeline segment under Lake Oahe is substantially safer than the average pipeline segment

because, among other things, “spill risk due to third-party damage is low because the pipeline is

positioned 92 feet below the lakebed.” Standing Rock Sioux, 255 F. Supp. 3d at 127;

RAR000013. Indeed, this Court has repeatedly agreed with the Corps’ conclusion that for this

Pipeline the “possibility of a future spill . . . is low.” Standing Rock Sioux, 440 F. Supp. 3d at 29.

       Plaintiffs also previously argued that the risk of a spill was greater immediately after

installation. Kuprewicz Decl., ECF No. 272-2 at 5-6 (“likelihood of a leak or rupture is likely

higher now [in August 2017] for DAPL than for pipelines that have been operating for years”).

The report the Tribe’s expert cited states that after instillation “there will [then] be a very low

failure rate for long periods of time for a well-installed pipeline.” New Jersey Institute of Tech.,

“Final Rep. - Pipeline Industry Comparison of U.S. with Foreign Pipeline Land Use and Siting

Standards, Maintenance, Rehabilitation and Retrofitting Policies and Practices,” Apr. 1996,

p.34; 8 ECF No. 272-2 at 5 (including the following graph):




In other words, risk of spill today is lower than when the Court previously found that “the EA

reasonably gives the necessary content to [the Corps’] top-line conclusion that the risk of a spill



8Available   at: http://pstrust.org/docs/usdot_doc4.pdf

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is low.” Standing Rock Sioux, 255 F. Supp. 3d at 127.

        Any balancing of equities must weigh the risks Plaintiffs fear against the countervailing

risks and economic harm that an injunction would impose. On Plaintiffs’ side of the scale, it is

exceedingly unlikely that any oil, much less an amount approaching the worst case modeled

values, will spill into Lake Oahe. On the other side of the balance is the near certainty that an

injunction would cause oil currently transported by pipeline to be transported by other modes

that increase spill risk, and the certainty that the injunction would cause economic disruption.

                        3.      An injunction is not necessary to ensure NEPA compliance 9

        Plaintiffs argue that they prevailed on the merits of their NEPA claim, ECF No. 569 at 7-

9, and that this bolsters their case for an injunction, id. at 29-30. First, whether Plaintiffs

prevailed on the merits is not relevant under the four-factor test. Monsanto, 561 U.S. at 156–57.

Moreover, as the Corps has undertaken considerable environmental review and is in the process

of preparing the EIS the Court ordered, an injunction is not necessary to vindicate NEPA.

        Plaintiffs correctly state that “[p]art of the harm NEPA attempts to prevent in requiring an

EIS is that, without one, there may be little if any information about prospective environmental

harms and potential mitigating measures.” Winter, 555 U.S. 23; ECF No. 569 at 13. Though

Plaintiffs invoke Winter for this proposition, they have not argued that the environmental review

done to date in this case has yielded “little if any information” about harms or mitigation

measures. In fact, the environmental impacts of the easement have been analyzed in significant

depth in an EA that along with its appendices totaled over 1,200 pages. That analysis was




9The Corps contests Plaintiffs’ view of the merits of their NEPA claim, which is the subject of
an appeal; but in light of the Court’s direction to focus the instant briefing on irreparable harm,
ECF No. 567, the Corps will not repeat NEPA merits arguments in this briefing.

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followed by a review of the easement that totaled 136 pages, and then an additional 280 pages of

analysis on remand. Moreover, the Corps is undertaking additional environmental review in the

form of the EIS ordered by this Court which is estimated to conclude in late 2021 or early 2022.

        The Corps acknowledges the importance of NEPA and its goal of fostering informed

decisionmaking. But not every NEPA violation requires an injunction. Monsanto, 561 U.S. at

156–57. Similarly, not every NEPA violation indicates that the agency acted without knowledge

of the risk “of the likely effects of [its] decision on the environment.” Sierra Club v. Bosworth,

510 F.3d 1016, 1034 (9th Cir. 2007) (citation omitted). There can be little doubt that the Corps

has considered potential impacts of the easement in significant detail, including impacts

stemming from an unlikely oil spill. And with the EIS ordered by this Court, the Corps will

continue to examine these impacts in greater depth. See ECF No. 570. That a NEPA violation

occurred here is not enough to tip the equities in Plaintiffs’ favor.

                        4.      Plaintiffs’ treaty arguments are irrelevant and the Corps has
                                not violated any trust duties owed to Plaintiffs.

        Plaintiffs assert, ECF No. 569 at 8-9, 23-24, that the United States has breached trust

responsibilities to Plaintiffs and that alleged historical trust violations support an injunction.

Plaintiffs’ incorrect suggestion that the United States illegally took their interests in certain lands

provides no support for an injunction because Congress took those interests in the 1950s and

compensated Plaintiffs at that time. Plaintiffs’ effort to expand the Corps’ NEPA responsibilities

with alleged violations of treaties and trust duties should be rejected.

        Plaintiffs are incorrect that a deficiency in the Corps’ NEPA analysis means that “the

Corps is . . . violating its trust obligations.” ECF No. 569 at 8. To the contrary, “because

Standing Rock has not identified a specific provision creating fiduciary or trust duties that the

Corps violated, its breach-of-trust argument—whether considered a separate count or part of its

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larger APA cause of action—cannot survive.” Standing Rock Sioux, 255 F. Supp. 3d at 143-45.

Plaintiffs identify no trust duty that the Corps has violated. Standing Rock Sioux, 440 F. Supp.

3d at 29 (even where Oglala identified a trust duty in the Mni Wiconi Act, the Corps “adequately

performed any fiduciary duty”). Plaintiffs’ effort to revive their trust claims fails because they

do not identify a relevant statute or regulation that the Corps breached.

       Rather than supplying the necessary statute or regulation imposing a trust duty, Plaintiffs

offer nothing more than a bare assertion that the Corps breached a right “to use and rely on the

waters of Lake Oahe.” ECF No. 569 at 8. Plaintiffs’ trust claim hinges on the assertion that the

land at issue was taken “without authorization” and “stolen.” ECF No. 569 at 8-9. But the

United States acted legally and compensated Plaintiffs when it took portions of their land to

create Lake Oahe. See Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 239 F. Supp. 3d

77, 98-99 (D.D.C. 2017) (Congress “clearly abrogated [Cheyenne River’s] ‘absolute and

undisturbed use and occupation’ of these tribal lands” through Acts providing $300,000,000 in

compensation); Standing Rock Sioux, 255 F. Supp. 3d at 114 (citing Act of Sept. 2, 1958, Pub. L.

No. 85-915, 72 Stat. 1762); Lower Brule Sioux Tribe v. South Dakota, 711 F.2d 809, 823 (8th

Cir. 1983). Moreover, the Corps has not impaired Plaintiffs’ use of any quantity of water from

Lake Oahe. Crow Creek Sioux Tribe v. United States, 900 F.3d 1350, 1357 (Fed. Cir. 2018)

(Tribe’s “right to use sufficient water to fulfill the purposes of the Reservation, simply cannot be

injured by government action that does not affect the Tribe’s ability to use sufficient water to

fulfill the purposes of the Reservation.”). And absent an unambiguous imposition to “manage

off-Reservation resources for the benefit of the Tribes” the United States’ duties are coterminous

with NEPA. See Gros Ventre Tribe v. United States, 469 F.3d 801, 812 (9th Cir. 2006) (no trust

duty to regulate upstream cyanide heap-leach gold mines). Plaintiffs’ arguments regarding


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alleged treaty and trust duties do not support an injunction here.

IV.    THE COURT WAS CLEAR THAT IT SET ASIDE THE EASEMENT NOT
       THE RIVERS AND HARBORS ACT PERMISSION AND THAT RULING
       SHOULD NOT BE REVISITED
       Plaintiffs argue that “Vacatur of the [Rivers and Harbors Act] § 408 permit is warranted

because it also indisputably relied on the invalidated environmental assessment.” ECF No. 569 at

6-7. Plaintiffs’ argument glosses over the fact that the Rivers and Harbors Act decision and

Mineral Leasing Act easement decisions were two separate decisions taken in different years

based on different legal authority under different administrative records. Moreover, Plaintiffs

argument is inconsistent with basic APA jurisprudence.

       The Court’s decision was clear that “expert critiques” rendered “the easement approval . .

. ‘highly controversial’ under NEPA.” Standing Rock Sioux, 440 F. Supp. 3d at 8 (emphasis

added). The Court ordered “the parties to brief the issue of whether the easement should be

vacated during the remand,” id. at 29, and decided to “vacate the Corps’ decision to grant Dakota

Access an easement.” Cheyenne River Sioux Tribe v. U.S. Army Corps of Eng’rs, No. CV 16-

1534 (JEB), 2020 WL 3634426, at *11 (D.D.C. July 6, 2020) (emphasis added). It is no mystery

why the Court limited its consideration and orders to the easement and not the 408 permission.

Plaintiffs’ suit challenges “authorizations made at two different times: the RHA Section 408

authorization . . . on July 25, 2016, and the easement approval on February 8, 2017.” Standing

Rock Sioux, 255 F. Supp. 3d at 123. The reports at the heart of this Court’s opinion setting aside

the February 2017 easement post-dated the July 2016 RHA authorization, and thus were not

before the agency when making the RHA decision. In evaluating the RHA authorization, the

Court explained that “considering the record as of July 25, 2016, when the Corps issued

the Section 408 permit, it had taken a hard look at the risk of an oil spill and provided sufficient

explanation to support its conclusion that such a risk was low.” See id. at 149.
                                                24
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       Plaintiffs request that the Court vacate the July 2016 RHA authorization based on expert

reports that post-date this authorization. This runs afoul of the fundamental principle of APA

review—that a court reviews the agency action in question based on the record that was “before

the agency at the time the decision was made . . . .” Envtl. Def. Fund, Inc. v. Costle, 657 F.2d

275, 284 (D.C. Cir. 1981); Walter O. Boswell Mem’l Hosp. v. Heckler, 749 F.2d 788, 792-93

(1984) (“If a court is to review an agency’s action fairly, it should have before it neither more

nor less information than did the agency when it made its decision.”). It is therefore

inappropriate for the Court to accede to Plaintiffs’ attempt to shoehorn the 408 permission into

the Court’s decision on a separate agency decision.

V.     CONCLUSION
       For the foregoing reasons, the Court should deny Plaintiffs’ requested injunctive relief

and Plaintiffs’ request to set aside the Rivers and Harbors Act Section 408 Permission. The risk

of any spill at Lake Oahe is low; thus the Tribes’ harms are speculative, whereas shutting down a

Pipeline that has been operating safely for years is certain to cause economic disruption and shift

oil transport to more risky methods.



Dated: November 20, 2020                              Respectfully submitted,

                                                      PAUL E. SALAMANCA
                                                      Deputy Assistant Attorney General
                                                      United States Department of Justice
                                                      Environment & Natural Resources Division

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                                  CERTIFICATE OF SERVICE

       I, Reuben S. Schifman, hereby certify that on November 20, 2020, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system, and copies will be sent

electronically to the registered participants as identified in the Notice of Electronic Filing.


       /s/ Reuben Schifman___
       REUBEN S. SCHIFMAN




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                 Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF COLUMBIA

  STANDING ROCK SIOUX TRIBE,                            )
  Plaintiff,                                            )
                                                        )
  and                                                   )
                                                        )
  CHEYENNE RIVER SIOUX TRIBE,                           )
      Plaintiff-Intervenor,                             )
                                                        )
  v.                                                    )       Case No. 1:16-cv-01534 (JEB)
                                                        )       (consolidated with Cases No.
  UNITED STATES ARMY CORPS OF                           )      1:16-cv-01796 & 1:17-cv-00267)
  ENGINEERS,                                            )
  Defendant,                                            )
                                                        )
  and                                                   )
                                                        )
  DAKOTA ACCESS, LLC,                                   )
      Defendant-Intervenor.                             )


                           DECLARATION OF SHAWN BENNETT



I, Shawn Bennett, declare as follows:

        1.     I am the Deputy Assistant Secretary for Oil and Natural Gas of the U.S.

Department of Energy. I administer oil and gas programs, including research and development,

analysis, and natural gas regulation.

        2.     The mission of the Department is to ensure America’s security and prosperity by

addressing its energy, environmental, and nuclear challenges through transformative science and

technology solutions. Among other things, the Department is responsible for overseeing the

United States’ energy supply.

        3.     I submit this declaration in support of the Appeal from the United States District

Court for the District of Columbia in No. 1:16-cv-1534. This declaration is based on my

personal knowledge and information made available to me in the course of my official duties.
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                                                                                                          2


           4.       The impacts from shutting down the Dakota Access Pipeline (DAPL) for any

extended period are not only significant locally, but have a substantial impact on Midwest

refineries and crude oil exports. With a capacity of over 570,000 barrels a day, DAPL runs from

the North Dakota to Patoka, Illinois. DAPL is the largest pipeline running out of North Dakota,

which is the second largest oil producing state after Texas and has the second largest crude oil

reserves. 1 The largest producing formation in North Dakota is the Bakken formation, located in

western North Dakota and eastern Montana. The Bakken formation is the third largest tight oil

producing region in the United States.

           5.       DAPL terminates in Patoka, Illinois, which is a crude oil storage and pipeline hub

and is the second largest oil storage site in Petroleum Administration for Defense District

(PADD) 2. From Patoka, crude oil is transported via multiple pipelines to 13 refineries in South-

Eastern PADD 2. Each of these refineries provides transportation fuels and other energy

products for farms, fleets, and families in Indiana, Illinois, Michigan, Ohio, and Kentucky.

           6.       With the closing of the DAPL, Midwest, Rocky Mountain, and Gulf Coast

refineries that process Bakken crude oils will be forced to find alternatives, thereby incurring

additional costs and raising prices for consumers of retail gasoline and other products.

           7.       The DAPL is estimated to hold 5.4 million barrels of crude oil as line fill. If the

pipeline is emptied, 5.4 million barrels of crude oil storage capacity would need to be allocated

in PADD 2. The estimated current value of the 5.4 million barrels of line fill based on the June

average for Bakken crude oil spot prices is between $197-$199 million, not accounting for

storage costs. If the pipeline were to be refilled, the cost to refill the pipeline in 13 months is

estimated to cost between $215-$217 million in crude oil supplies alone. This estimate is based




1
    https://www.eia.gov/naturalgas/crudeoilreserves/pdf/table_7.pdf
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on the NYMEX West Texas Intermediate crude oil futures contract prices as of July 9, 2020 and

crude oil price differentials between WTI and Bakken crude oil prices.

           8.      The DAPL daily throughput is worth an estimated $21 million, given the

pipeline’s capacity of 570,000 barrels/day and at current prices for Bakken crude oil. If the

pipeline were to shut for 13 months, the estimated total loss of throughput value would be $8.8

billion. This estimate is based on WTI futures prices as of July 9, 2020 for delivery between 1

and 13 months into the future, and average price differentials for Bakken crude oil.

           9.      North Dakota crude oil production is 1.2 million barrels/day (as of April 2020),

and averaged 1.4 million barrels/day in 2019. 2 Therefore, DAPL capacity would represent 40-

47% of North Dakota’s crude oil production. A lengthy shutdown could create a significant

problem for the state of North Dakota’s budget. Even accounting for the reduced production

resulting from the COVID-19 pandemic, North Dakota tax revenue from the oil and gas industry

between July 1, 2020, and June 30, 2021, is projected to be $4.9 billion. 3 If North Dakota’s oil

and gas industry declines by a similar 40-47%, state tax revenues would fall by an estimated $1.9

to $2.3 billion.

           10.     The chart below represents: North Dakota crude oil production and the

significance of DAPL pipeline capacity relative to that production. The availability of pipeline

capacity is a major consideration for producers when planning to drill new wells. As a general

matter, constrained take-away capacity results in lower prices and reduced production:




2
    https://www.dmr.nd.gov/oilgas/stats/historicaloilprodstats.pdf
3
    https://www.startribune.com/with-demand-in-the-dumps-north-dakota-oil-fields-grow-quiet/570515752/
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       11.     Crude oil prices in the Bakken are extremely sensitive to crude oil pipeline

takeaway capacity. The last time Bakken crude oil pipeline takeaway capacity was full, from

November 2018 to January 2019, Bakken crude oil price differentials fell $12-$20/barrel below

West Texas Intermediate crude oil (WTI). Similar differentials now would result in Bakken

crude oil prices between $18-$24/barrel, depending on crude by rail economics.

       12.     The chart below reflects the differential between Bakken crude oil spot prices and

WTI Cushing:
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                                                                                                  5




       13.     With the announcement of the ruling in this matter, Bakken crude oil prices

relative to WTI crude oil prices have decreased. In June, 2020, Bakken crude oil prices averaged

between $1.73/b and $1.49/b below WTI, between July 1, 2020 and July 10, 2020 Bakken crude

oil prices averaged $2.07/b and $2.57/b below WTI. Lower Bakken crude oil prices relative to

WTI by several dollars creates even more downward pressure on North Dakota operators.

       14.     Spare Bakken crude oil takeaway capacity is insufficient to make up for the loss

of Dakota Access Pipeline. Bakken crude oil prices will plummet, ending up somewhere

between operating costs and crude by rail economics. Over time, low crude oil prices result in

accelerated crude oil production declines and shut-ins by regional producers, thereby, creating

increasing financial stress on operators already suffering from depressed prices, and further

reducing state revenues from oil and gas production.
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